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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ABBOTT DIABETES CARE INC. and                    )
ABBOTT DIABETES CARE LIMITED,                    )
                                                 )
                       Plaintiffs,               )
                                                 )   C.A. No. 21-977 (KAJ)
       v.                                        )
                                                 )
DEXCOM, INC.,                                    )
                                                 )
                       Defendant.                )


                           [JOINT PROPOSED] VERDICT FORM

In answering the questions below, you are to follow all of the Court’s jury instructions.
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I.     INFRINGEMENT

You must answer Question No. 1.

You must check “YES” or “NO” for each claim.

Checking “YES” below is a finding in favor of Abbott.

Checking “NO” below is a finding in favor of DexCom.



1.     Has Abbott proven by a preponderance of the evidence that DexCom infringed the
       following Asserted Claims of the Asserted Patents?

     Asserted Patent and Asserted Claim                    YES                   NO
                                                        for Abbott           for DexCom
 216 Patent – Claim 3
 649 Patent – Claim 28
 647 Patent – Claim 3
 338 Patent – Claim 22




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II.    INVALIDITY

You must answer Question No. 2. You must check “YES” or “NO” for each defense.

Please note that checking “YES” or “NO” in this Section II of the verdict form is different than
checking “YES” or “NO” in Section I.

Checking “YES” below is a finding in favor of DexCom.

Checking “NO” below is a finding in favor of Abbott.



2.     Has DexCom proven by clear and convincing evidence that Claim 22 of the 338 Patent is
       invalid for the following reason?

                   Defense                                 YES                        NO
                                                       for DexCom                 for Abbott
 Invalid for Obviousness




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III.   DAMAGES

You are to answer Questions Nos. 3-6 if you found any Asserted Claim to be infringed and not
invalid. [Abbott’s proposal: For claim 22 of the 338 Patent, you determined validity in response
to Question 2. The remaining three asserted claims should be considered not invalid, because
Dexcom has not challenged their validity]1

Please note that checking “Yes” or “No” in this Section is different than checking “YES” or “NO”
in Section II.

Checking “Yes” below is a finding in favor of Abbott.

Checking “No” below is a finding in favor of DexCom.

3.     Has Abbott proven, by a preponderance of the evidence, that it is entitled to lost profits?

       Yes (for Abbott) _____                  No (for DexCom) _____

If you answered “Yes” to Question No. 3, please answer Question No. 4. If you answered “No”
to Question No. 3, please skip to Question No. 5.

4.     State the amount of lost profits damages that Abbott has proven, by a preponderance of
       the evidence, that it is entitled to.

       $ ______________________________

5.     For any infringing sales for which you did not award lost profits, state the amount of
       reasonable royalty damages that Abbott has proven, by a preponderance of evidence, that
       it is entitled to.

       $ ______________________________

6.     If you answered Question No. 5, is the amount identified in response to Question No. 5 a
       one-time lump sum payment or a running royalty? Check only one.

               Lump Sum _____                          Running Royalty _____



1
  [Abbott’s position: The previous sentence states that the jury should address damages if a claim
is found “infringed and not invalid.” But for three of the four claims the jury is not being asked to
find any claim invalid or not invalid, and thus it may get confused. Abbott’s instruction merely
clarifies that for those three claims it need only address whether they are infringed.]

Dexcom’s position: Abbott’s proposal is unnecessary. Dexcom is not challenging the validity of
the ’216, ’649, or ’647 patents, thus, for the purposes of this part of the verdict form, the jury will
consider those to be “not invalid.” There is no need to add this prejudicial language to the verdict
form, which implies that because Dexcom is not challenging the validity of those three patents,
they must be valid.]

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IV.    WILLFULNESS

If you found any Asserted Claim to be infringed and valid, then you must answer Question No. 7.

Checking “YES” below is a finding in favor of Abbott.

Checking “NO” below is a finding in favor of DexCom.



7.     Has Abbott proven by a preponderance of the evidence that DexCom’s infringement was
       willful?

           Yes (for Abbott) _____           No (for DexCom) _____




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You have now reached the end of the verdict form and you should review it to ensure it accurately
reflects your unanimous determinations. You must each sign the verdict form in the spaces below,
place it in the envelope provided, and notify the Jury Officer after you have reached a unanimous
verdict. Hold on to the envelope with the jury verdict until the Court asks for it in the Courtroom.

Foreperson     ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________


Juror          ___________________________________




Dated:_____________________




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